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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


Civil Action No. 22-cv-00926-GPG

TIFFANY GRAYS,

        Plaintiff,

v.

RICO MUNN; ELIZABETH FRANCIS; MICHAEL W. SCHREINER;
CARI ROBERTS; ZACHERY SAMPLES; DAVID WALLER;
NICHOLAS KLOBERDANZ; GREGORY CAZZELL;
UNKNOWN APS SECURITY OFFICER; BRANDON EYRE;
UNKNOWN APO CO-CONSIPRATORS; and THE CITY OF AURORA

        Defendants.

______________________________________________________________________________

                           ENTRY OF APPEARANCE
______________________________________________________________________________

        To the clerk of court and all parties of record:

        I hereby certify that I am a member in good standing of the bar of this court and I appear

in this case as counsel for Defendants: Rico Munn, Elizabeth Francis, Michael W. Schreiner,

Cari Roberts, Nicholas Kloberdanz, Gregory Cazzell, and Brandon Eyre in the above-captioned

case.

        Respectfully submitted this 19th day of May 2022.

                                               CAPLAN AND EARNEST LLC

                                               s/ David M. Strachan
                                               David M. Strachan
                                               Caroline G. Gecker
                                               3107 Iris Avenue, Suite 100
                                               Boulder, CO 80301
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                                              Attorneys for Defendant




                                CERTIFICATE OF SERVICE

       This is to certify that on May 19, 2022, a true and correct copy of the foregoing was filed
with the US District Court of Colorado CM/ECF System and mailed and emailed to the
following:

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Pro Se Plaintiff

                                                     s/Shellie Satterfield
                                                     Shellie Satterfield, Paralegal




4879-5547-9837, v. 1




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